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                            Exhibit 17
                  Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Wed, May 1, 2024 at 8:02 AM
  Subject: BruinALERT: Campus Activity Updates (May 1)
  To:                                  <                                    >



  Due to the distress caused by the violence that took place on Royce Quad late last night
  and early this morning, all classes are cancelled today.

  The hospital and health system, the Luskin Conference Center, and PreK-12 schools
  remain open. Please avoid the Royce Quad area.

  Royce Hall remains closed through Friday, and students should watch for notifications from
  their instructors with information about class locations when classes resume. Powell Library
  is also closed and is scheduled to reopen on Monday. We have law enforcement presence
  stationed throughout campus to help promote safety. Student Affairs will have essential staff
  on campus to support our students who have been impacted by this tragedy.

  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




                      SHEMUELIAN DECLARATION EXHIBIT 17
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